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          Standardized Fund Accounting Report for SEC v Donald J. Lester, Rubicon Alliance, LLC, et al. - Cash Basis
                                    Receivership Case No. 1:15-cv-20301-CMA-MLC
                                       Reporting Period 7/1/2021 to 3/31/20222
                                                             SCHEDULE 1


Fund Accounting
                                                                              Detail          Subtotal         Grand Total
Line 1           Beginning Balance (As of 7/1/2021)                                                             $368,629.01

                 Increases in Fund Balance:
Line 2           Liquidation Proceeds of Thunderwolves, LLC                  2,072,860.00
Line3            Cash and Securities                                                 0.00
Line 4           Interest/Dividend Income                                            0.00
Line 5           Reimbursement of Legal fees from ReRoc                            425.00
Line 6           Reimbursement of Legal fees from CR Towers                      3,268.25
Line 7           Third-Party Litigation Income                                       0.00
Line 8           Miscellaneous                                                       0.00
                   Total Funds Available (Lines 1-8)                                          2,076,553.25      2,445,182.26

                 Decreases in Fund Balance:

Line 9           Disbursements to CFI Fund & EEPI Fund Noteholders                5,952.22        5,952.22
Line 9A          Other Disbursements                                                  0.00            0.00
Line 10          Disbursements for Receivership Operations:
      Line 10a   Disbursements to Receiver for fees/costs                      94,463.27
      Line 10b   Disbursement to Receiver's Counsel for Legal Fees/Costs        5,289.50
      Line 10c   Other - Bank Fees                                                  0.00
      Line 10d   Investment expenses                                                0.00         99,752.77
      Line 10e   Third-party Litigation Expenses
                   1. Attorney Fees                                                    0.00
                   2. Litigation Expenses                                              0.00
                 Total Third-Party Litigation Expenses                                                0.00

     Line 10f Tax Administrator Fees and Bonds                                         0.00
     Line 10g Federal and State Tax Related Payments                                   0.00
                                                                                                     0.00
                  Total Disbursements for Receivership Operations                              105,704.99         105,704.99

Line 11          Disbursements for Distribution Expenses Paid by the Fund:

     Line 11a     Distribution Plan Development Expenses:
                   1. Fees:
                        Fund Administrator                                             0.00
                        Independent Distribution Consultant (IDC)                      0.00
                        Distribution Agent                                             0.00
                        Consultants                                                    0.00
                        Legal Advisers                                                 0.00
                        Tax Advisers                                                   0.00
                   2. Administrative Expenses                                          0.00
                   3. Miscellaneous Expenses                                           0.00
                   Total Plan Development Expenses                                                    0.00

     Line 11b      Distribution Plan Implementation Expenses:
                     1. Fees:
                         Fund Administrator                                            0.00
                         IDC                                                           0.00
                         Distribution Agent                                            0.00
                         Consultants                                                   0.00
                         Legal Advisers                                                0.00
                         Tax Advisers                                                  0.00
                     2. Administrative Expenses                                        0.00
                     3. Investor Identification:                                       0.00
                         Notice/Publishing Approved Plan                               0.00
                         Claimant Identification                                       0.00
                         Claims Processing                                             0.00
                         Web Site Maintenance/Call Center                              0.00
                     4. Fund Administrator Bond                                        0.00
                     5. Miscellaneous                                                  0.00
                 6. Federal Account for Investor Restitution (FAIR)
                 Reporting Expense                                                     0.00
                 Total Disbursements for Distribution Expenses Paid by the Fund                       0.00              0.00

Line 12        Disbursements to Court/Other:
      Line 12a    Investment Expenses/Court Registry Investment
                  System (CRIS) Fees                                                   0.00
      Line 12b    Federal Tax Payments                                                 0.00
                Total Disbursements to Court/Other:                                                   0.00              0.00
                Total Funds Disbursed (Lines 9-12):                                                               105,704.99
Line 13        Ending Balance (As of 3/31/2022)                                                                $2,339,477.27
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          Standardized Fund Accounting Report for SEC v Donald J. Lester, Rubicon Alliance, LLC, et al. - Cash Basis
                                    Receivership Case No. 1:15-cv-20301-CMA-MLC
                                       Reporting Period 7/01/2021 to 3/31/2022
                                               SCHEDULE 1 CONTINUED

Line 14         Ending Balance of Fund - Net Assets:
       Line 14a    Cash & Cash Equivalents                                     2,339,477.27
      Line 14b     Investments                                                         0.00
       Line 14c    Other Assets or Uncleared Funds                                     0.00
                 Total Ending Balance of Fund - Net Assets                                      2,339,477.27    2,339,477.27




OTHER SUPPLEMENTAL INFORMATION:
                                                                                Detail          Subtotal       Grand Total
                 Report of Items NOT To Be Paid by the Fund:

Line 15        Disbursements for Plan Administration Expenses Not Paid by the Fund:
       Line 15a Plan Development Expenses Not Paid by the Fund:
                  1. Fees:
                      Fund Administrator                                        0.00
                      Independent Distribution Consultant (IDC)                 0.00
                      Distribution Agent                                        0.00
                      Consultants                                               0.00
                      Legal Advisers                                            0.00
                      Tax Advisers                                              0.00
                  2. Administrative Expenses                                    0.00
                  3. Miscellaneous Expenses                                     0.00
                  Total Plan Development Expenses Not Paid by the Fund                                  0.00           0.00

      Line 15b   Plan Implementation Expenses Not Paid by the Fund:
                   1. Fees:
                       Fund Administrator                                        0.00
                       IDC                                                       0.00
                       Distribution Agent                                        0.00
                       Consultants                                               0.00
                       Legal Advisers                                            0.00
                       Tax Advisers                                              0.00
                   2. Administrative Expenses                                    0.00
                   3. Investor Identification:                                   0.00
                       Notice/Publishing Approved Plan                           0.00
                       Claimant Identification                                   0.00
                       Claims Processing                                         0.00
                       Web Site Maintenance/Call Center                          0.00
                   4. Fund Administrator Bond                                    0.00
                   5. Miscellaneous                                              0.00
               6. FAIR Reporting Expense                                         0.00
                 Total Plan Implementation Expenses Not Paid by the Fund                                0.00
      Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                                  0.00
               Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                0.00

Line 16         Disbursements to Court/Other Not Paid by the Fund:
       Line 16a    Investment Expenses/CRIS Fees                                         0.00
      Line 16b     Federal Tax Payments                                                  0.00
                 Total Disbursements to Court/Other Not Paid by the Fund:                               0.00           0.00

Line 17          DC & State Tax Payments                                                 0.00           0.00           0.00

Line 18         No. of Claims:
       Line 18a    # of Claims Received this Reporting Period                                                             0
      Line 18b     # of Claims Received Since Inception of the Fund                                                     231
Line 19         No. of Claimants/Investors:
       Line 19a    # of Claimants/Investors Paid This Reporting Period                                                    0
      Line 19b     # of Claimants/Investors Paid Since Inception of the Fund                                            121
